Case 19-01230-SMG Doc19-3 Filed 10/11/19 Page 1 of 6

EXHIBIT 15
 

June 1, 2018

via FedEx and e-mail

Cart-G. Santangelo

3300.N. Federal Highway, Suite 200
Fort Lauderdale, FL 33306
esaniangelolaw@aol.com

Re: = Notice of Non-Compliance of Lease Agreément entered into between MDG Powerline Holdings, ELC
and Stars on the Hudson Carp, regarding the leased propeity located. at S300: Powerline Road, Fort
Lauderdale, Florida 33309, .

Dear Mr. Santangelo,

The undersigned has. been retained: by MDG Powerline Holdings, LLC {“Landlord"} in regard fo that
certain. Lease Agreement entered into between Lancllord and Seven, ("Tenant"), dated November 23, 2015,
and its subsequent amendments (collectively, the “Lease Agreement'"}..it has come fo Landiord's attention
that Tenant is in violation of the Lease Agreement and fhat these violations are: disturbing the business
operations of Landlord's other tenants at 5300.Powerline Road, Fort Lauderdale, FL 33309 {Premises}. Such
disruptive behavior shall not be tolerated and must cease immediately. Landlord demands that the issues
below be resolved by the deadline stated herein.

No Outside Food or Beverage

To date, your client's most egregious violation has been that it has allowed patrons to bring outside
food and alcoholic beverage onto ihe Premises as recently:os May 12,2018. By allowing ifs pairons fo:do so,
Tenant created additional and unwarranted liabilities for the Landlord, as well ds put the liquor license. in
jeopardy of Landlord's other tendnts. Such reckless. behavior that negatively impacts Landlord and the other
tenants of ihe Premises is completely. unacceptable. This tetter shail serve to. put Tenant on notice that, as stated
outside the Premises and your client's lease. sbacé, he outside food.or beverage is permifted. There shall be
absolutely no exceptions to this rule. Tenant must-comply with all of Landlord $ rules.and regulations. Further, it
is stated in Section 6.02(b} of the Lease Agreement that,

“Tenant shai comply-at all times with the Rules. and. Regulations{.. ‘Jas kandtarct may from. time.
to:time reasonably adopt (and which Tenant has notice} for the safety, care and cleanliness: of
the Property or the preservation of good order therein.” ;

Registration Desk

This letier also serves as official notice: that-your client must remove its current registration désk which is
located in the lease space of another tenant. Per the Second Amendment to the Lease. Agreement, because
Xtreme Action Park will be reconstructing Its front desk area, Tenant ‘will be: provided with a. front. desk soace
where your client may keep a POS and cash box and cai eairty out all of its registration and waiver needs..

t 305.858.6208 f: 305.851.0026 www.simplylegalgroup. com
1395 Brickell Avenue, Suite 120, Miami, FL 33131
 

, Therefore, the ‘provisional registration desk that your client cunently fh has must be removed by the deadine .
below. Specifically, Section 3th] (<) of the Second Amendment states, : ae . ;

“In the event that Landlord reconstructs ‘and/or exparids the. front t desk area outside the lease
__ Premises within the building and said reconstruction provides: sufficient room for Tenant to place
the registration area within same, the: parties. agree that Tenant shall.be permitfed to perform its
regisiration activities, subject to the terms and conditions set forth: by Landiord, in the above -
mentioned reconstructed a and 1 expanded: front desk area. aoe et _

Hours of Operation . . mo a ae
: - Ithas also come to Landlord's altention that Tenant i is advertising t that it will open earlier than normal wes
‘pusiness hours. Section 6.01 of the Lease Agreement specifically states that, “Tenant shail continuously and -
uninterrupteadly operate its business. . during. all hours established by the. Landlord as fhe hours of operation for.
fhe Property, provided Landlord shall not require that Tenant open for: business before 12:00 p.m. or remain: -
open after 9% 00 p.m., exceptf...J{i] when a majority of other fenanis at the Properly will be open.”

Due to the layout of the Premises and sofety and llobblty concems, it's important that. your client oo

maintain the same hours of operation as its: co-tenant, Xiteme Action Park, since your client must use the
entrance and exit located in Xtreme Action Park's lease space: These hours of operation are from 11 a.m.— 10
p.m. from Sunday to Thursday and 11 a.m. — 12 a.m. on Friday and Saturday. Therefore, your cllent must

. immediately cease advertising that it will open earler than the set hours of operation. in any event, before your
client even may consider operating duting.a different set of hours, it must consuit with Landlord beforehand,
which must provide Tenant with its written consent before Itc can advertise. any operating hours that differ from
the ones currently in place. o

HVAC Maintenance a we
" .. Additionally, your client is not maintaining its HVAC system property and has not hired the appropriate a
professionals to do so. Per Section 7 of the Lease Agreement, this is Tenant's responsibility. Furthermore, it’s.

important that Tenant maintain ail HVAC systems property, so It does not endanger the healih of any person |

that visits or works on Tenant's lease space. Therefore, your client must contract for such services by the and
provide Landiord with a copy of such contract ‘fully executed by alll parties by the deadline stated below. If
Tenant fails to contract with any service @.company, then Landlord shall do soon Tenant's behalf and bill Tenant mo
for ail charges related to. that service. :

Section 7.02 of the Fourth Amendment fo the lease. Agreement specifically states that,

“Tenant shail contract with a service company {which Landlord, at its option, may reasonably

- designate or approve} for the quarierly [every three month period} maintenance of the heating, ny
ventilating and air conditioning equipment. serving the Premises. Tenant shail fumish a copy of |. :
the service contract to Landlord within ten (10) days affer opening. for business and a copy of

. any subsequent contracts from lime fo lime during the term.’ Mea

No Television, Merchandise, Vending Machines, or Amusement Devices. .
Tenant. must also remove immediately the television and merchandise that it has. set-up. outside: of
Tenant's leased space and has instalied in the lease space of another tenant. ‘Additionally, Tenant must.

remove the hurricane machine and the candy machine instalied in its leased space. Having such items violates. Pe

_» the Rules. and Regulations included i in 1 the Lease Agreement. In relevant: part, Exhibit c states,

he . Simplyliegéa oS
1395 Brickell Avenue, suite 120.1 Miami, AL 33131 stel (305 #506200 é. Fox. x (908). 851-0026 .
 

“No loudspeakers, televisions, photographs; radios, tape players or other used in a manner asio
be heard or seen outside of the Premises without the prior written ‘consent of Landlord,

Tenant shail nat solicit business or distribute advertising or promotional material in the common .
aréas.of fhe property; and

Tenant shall not operate any. coin or token operated vending machine or similar device -

(including, without limitation, pay telephone, pay toilets, scales, amusement devices, and. .
machines for the sale of beverages: foods, candy, cigarettes. or r other merchandise: and/or ,
commiodities}f...}"

Lastly, we have been informed by Xtrémie Action Park that because Tenant isin breach of its Lease
Agreement, effective immediately, Rockin’ Jump willno longer receive. any discount.on.food and beverage »
from Xtreme Action Park until its business Operations are brought into compliance. Section 20.15 of the Lease
Agreement specifically states,

“So long as Tenant is not in breach of this Lease, when Tenant purchases food or beverage.from
Xireme Action Park for events taking place at the. Premises, Tenant will receive a. discount of
fifteen percent (15%) off Xtreme’s published. prices:"

in light of all the issues addressed above, Tenant must remedy ail matters no tater than June é, 2018, 8. if
Tenant fails to do so, Landlord will not hesitate to exercise ariy and all, legal or equitable remedies available |
to it in situations where Tenant has defaulted on the Lease Agreement. Nothing herein shall be deemed'a
waiver of any rights or remedies to Landlord, alt of which are. hereby: expressly reserved.

Gover yourself accordingly .

 

cc: Rockin’ Jump . Seven Stors.on the Hudsor Carp.
7901 Stoneridge Dr.. Ste. 503 ' d/b/a Rackin* Jump
Pleasanton, CA 94588 : 2108-NE.63td Street
Attn: Jaseph Freschi fort Lauderdale;.Fl. 33308

-Altn: Jens ‘Berding

simpiytegal
1395 Brickel Averive, Suite 120;:Miami, FL 33131 Tel (305) 858- 6208 « Fax (305) 85t: 0028
- Mg heex andere a

‘cade: ganiangeld ae
a Fee eral Fahwit Sul 2

; Beet Me. _Santongesa
 fegard to that certain Lease.
datect November 23,2012, 2

- Agreement and these violtiers cor :
2 fananis al SS0G. Powerline RO, ion lauctarciale

oracelpt ef totter. Landiord vw jerning!

. and Stree roe Action Pork ;

“tev eredie such cmc
rehieate. Hust abesiutaly
tiie: Tenant rie ern

 

  
 
   
    
 
 
 
  
 
  
   
    
 
 
 
 
  
  
 
 
 
 
  
      
   
    
  
   
 
  
  
   

Second Rghitee 25
Power | Hol ass ae

KE you ore cpnere; ae oiling. ae Landis re tn

 

allectively, the “Lease rAmeorien),

AS we fast addressed ao he Pt iat alchales cont inves: 1 viol . thet Lease

she most egregious beaches orn We
Landlord's quihoriy by blatantly.
tenant cease oll fending behovier ¥ Anh
dive soues in dnis secand notice are nok cue tat Ane

if fie: Pr se.

No Quide Food or beverage -
19. dale, your Ghent sre

bring outsce food: cand cieoke

fie epile ‘the West ‘notice “oF non
COMPANIES, Tenant etuses jo caddies, iis -engolig : ol

noly, ance ihe frst notice,
nines to Iremed ot the Premises
ree one whee Premises

 

incor Guise sour

6 of ine bene, Aur sere A ing:

 

ns. Jas Longiors) wiay:
notice) for the safety:
forces Here,”

 
 
 
  
  
  

: nant shail © comply at ‘kone

295 a iceall

 
Park's leaisespace. These hau
: ae ive arn, oo ae Ne on Pte

me - sincerely. os

  

Heiss of Operation ; Pe se
. Despile the firs ratio’ orn
nugness Hours. Section 6.0) af the
continues ¢ and | ininherepieciy sgh

 

 

S open eerter than normal
et shal

 

 

ses. ond sdlely-and fabilty
f pe OS ie cortenan

“as we naw elveeicly z
Cope, Fs: inpertant Hck 4
Xreme Acton Park, sinoe yours

      
  
 
    
 

: inte oes euch ore re Ale oplit oP ee {his provision. of ire
| _ esse eer ne a. -getion ne at a ie fp lait any other renedies. including .

 
 
 
 
    
  
   
  

Hon “for “posession el the. Sremiee is
Ang Herein. she oe deemed a.
: xpresaly reset vend,

: oven vessel erccoxdnaiy.. -

RAGS.

ns, Oe Sekt Puy :
a EGE Sera Oh Sie: 2.

Pieris ATA

AT: desert each.

 

 

 
  
  
 
   
   
  
